Case 5:20-cv-02611-CJC-KK Document 16 Filed 10/01/21 Page 1 of 1 Page ID #:83




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  8                                 UNITED STATES DISTRICT COURT
  9                                CENTRAL DISTRICT OF CALIFORNIA
 10
 11 STEVEN SHERIFF, an individual,                        Case No. 5:20-cv-02611-CJC-KK
 12                   Plaintiff,
 13            v.                                         ORDER DISMISSING ACTION
 14 FOOD SERVICES, INC. OF
    GAINESVILLE, dba GAINESVILLE
 15 SERVICES; and DOES 1 through 50,
    inclusive,
 16
               Defendant.
 17
 18
 19            Pursuant to the Stipulation of the parties, filed October 1, 2021,
 20 IT IS HEREBY ORDERED that the above-action hereby is dismissed, with prejudice,
 21 each party to bear its own attorneys’ fees and costs.
 22
 23
      DATED: October 1, 2021
 24
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 26                                                  UNITED STATES DISTRICT JUDGE
 27
 28
      10256334.1
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                                         ORDER DISMISSING ACTION
